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  IT IS ORDERED as set forth below:



  Date: June 25, 2020
                                                        _________________________________

                                                                 Jeffery W. Cavender
                                                            U.S. Bankruptcy Court Judge

 ________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   IN RE:                                            CASE NO. 16-54405-JWC

   KAPRICE GLYNDINA JOHNSON,                         CHAPTER 13
                 Debtor.



                                             ORDER


         On January 9, 2020, the Debtor filed an Application for Approval of Employment of

  Special Counsel (Document No. 37). The Debtor has failed to submit a consent order with

  the Chapter 13 Trustee in this matter, therefore

         IT IS ORDERED that the application is DENIED without prejudice for want of

  prosecution.

                                      END OF DOCUMENT
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